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Proposed Counsel for the Debtor and
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------x
In re                                                     :   Chapter 11
                                                          :
Retrieval-Masters Creditors Bureau, Inc.,1                :   Case No. 19-23185 (RDD)
                                                          :
                           Debtor.                        :
----------------------------------------------------------x



             REVISED PROPOSED ORDER AUTHORIZING THE DEBTOR TO
              RETAIN AND EMPLOY MORVILLO ABRAMOWITZ GRAND
             IASON & ANELLO P.C. AS SPECIAL REGULATORY COUNSEL,
                EFFECTIVE NUNC PRO TUNC TO THE PETITION DATE




1
        The last four digits of the Debtor’s taxpayer identification number is 9495. The location of the Debtor’s
        service address for purposes of this chapter 11 case is 4 Westchester Plaza, Suite 110, Elmsford, NY 10523.
        The Debtor also does business as American Medical Collection Agency.
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------x
In re                                                     :   Chapter 11
                                                          :
Retrieval-Masters Creditors Bureau, Inc.,1                :   Case No. 19-23185 (RDD)
                                                          :
                           Debtor.                        :
----------------------------------------------------------x

  ORDER AUTHORIZING THE DEBTOR TO RETAIN AND EMPLOY MORVILLO
   ABRAMOWITZ GRAND IASON & ANELLO P.C. AS SPECIAL REGULATORY
            COUNSEL, NUNC PRO TUNC AS OF THE PETITION DATE
______________________________________________________________________________

        Upon the application (the “Application”)2 of the debtor and debtor in possession (the

“Debtor”) in the above-captioned case for entry of an order (this “Order”) authorizing the

Debtor to retain and employ Morvillo Abramowitz Grand Iason & Anello P.C. (“Morvillo”) as

special regulatory counsel effective nunc pro tunc to the Petition Date, pursuant to section 327(e)

of title 11 of the United States Code (the “Bankruptcy Code”); and the Court having reviewed

the Application and the Declaration of Richard Weinberg, a partner of Morvillo (the “Weinberg

Declaration”); and the Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334; and the Court having found that the Application is a core proceeding pursuant to 28

U.S.C. § 157(b)(2); and the Court having found that venue of this proceeding and the

Application in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court

having found based on the representations made in the Application and in the Weinberg

Declaration that Morvillo neither has nor represents an interest materially adverse to the interest




1       The last four digits of the Debtor’s taxpayer identification number are 9495. The location of the Debtor’s
        service address for purposes of this chapter 11 case is 4 Westchester Plaza, Suite 110, Elmsford, NY 10523.
        The Debtor also does business as American Medical Collection Agency.
2       Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
        Application.
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of the Debtor or its estate or of any class of creditors or equity security holders, by reason of any

direct or indirect relationship to, connection with or interest in, the Debtor or for any other reason

as required by section 327(e) of the Bankruptcy Code; and the Court having found that the relief

requested in the Application is in the best interests of the Debtor’s estate, its creditors, and other

parties in interest; and the Court having found that the Debtor provided adequate and appropriate

notice of the Application under the circumstances and that no other or further notice is required;

and the Court having reviewed the Application and having heard statements in support of the

Application at a hearing held before the Court (the “Hearing”); and the Court having determined

that the legal and factual bases set forth in the Application and at the Hearing establish just cause

for the relief granted herein; and any objections to the relief requested herein having been

withdrawn or overruled on the merits; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

       1.      The Application is granted as set forth herein.

       2.      The Debtor is authorized to retain and employ Morvillo as special regulatory

counsel in this chapter 11 case, pursuant to section 327(e) of the Bankruptcy Code, Bankruptcy

Rule 2014(a) and Local Bankruptcy Rule 2014-1 on the terms and conditions set forth in the

Application and the Engagement Letter, nunc pro tunc as of the Petition Date.

       3.      Morvillo shall be compensated for its services and reimbursed for any related

expenses in accordance with applicable provisions of the Bankruptcy Code, the Bankruptcy

Rules, the Local Bankruptcy Rules and any other applicable orders or procedures of this Court.

       4.      Morvillo shall apply any remaining amounts of its prepetition retainer as a credit

toward postpetition fees and expenses, after such postpetition fees and expenses are approved
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pursuant to the first Order of the Court awarding reimbursement of fees and expenses to

Morvillo.

       5.      The Debtor and Morvillo are authorized to take all actions necessary to effectuate

the relief granted in this Order in accordance with the Application.

       6.      Notice of the Application as provided therein is deemed to be good and sufficient

notice of such Application, and the requirements of the Local Bankruptcy Rules are satisfied by

the contents of the Application.

       7.      The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

       8.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

       9.      Notwithstanding any provision to the contrary in the Engagement Letter, the

Debtor shall not make any advance payments to Morvillo without Court order.

       10.     Morvillo shall use its best efforts to avoid any duplication of services provided by

any of the Debtor’s other retained professionals in this chapter 11 case.

       11.     Notwithstanding any provision to the contrary in the Engagement Letter, any

dispute relating to the services provided by Morvillo shall be referred to arbitration consistent

with the terms of the Engagement Letter only to the extent that this Court does not have, retain or

exercise jurisdiction over the dispute.

       12.     To the extent there is an inconsistency among this Order, the Application and the

Engagement Letter, the terms of this Order shall govern.
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Dated: ____________, 2019
       White Plains, New York


                                THE HONORABLE ROBERT D. DRAIN
                                UNITED STATES BANKRUPTCY JUDGE
